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5

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7

8
                           UNITED STATES DISTRICT COURT
9

10                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
11
     ALKIVIADES DAVID; FILMON TV LTD.;       Case No.: 2:23-cv-01731
12   FILMON TV INC.; ALKI DAVID
     PRODUCTION INC.; HOLOGRAM USA;
13   SWISSX.                                 1. CIVIL RACKETEERING
14
                  Plaintiff(S),
15
     vs.
16
     THOMAS GIRARDI, ESQ; GLORIA
17
     ALLRED, ESQ.; LISA BLOOM; ESQ.;
18   NATHAN GOLDBERG, ESQ.; RENEE
19
     MOCHKATEL ESQ.; DOLORES Y.
     LEAL ESQ.; JOSEPH CHORA;
20   ALLRED, MAROKO & GOLDBERG;
21   ELIZABETH TAYLOR MAHIM
     KHAN; CHASITY JONES; LAUREN
22
     REEVES;
23
                  Defendants(s)
24

25

26

27

28
     1. CIVIL RACKETEERING - 1
          Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 2 of 40 Page ID #:2



1                                  INTRODUCTION
2
     1.    Former and now disbarred attorney Thomas Girardi was successful in
3

4    organizing a parasitic criminal element into the California state judiciary that
5
     span more than four decades and victimized numerous litigant defendants and
6

7
     insurance companies.

8    2.    The criminal enterprise created by Thomas Girardi was guised as the Law
9
     Firm of Girardi-Keese, but in reality, the organization engaged in various
10

11   schemes types to defraud clients, victimized litigant defendants, and even federal
12
     and state court systems throughout the United States. Many attempts to alter or
13

14
     stop the organization identified infra in this lawsuit as the GIRARDI-KEESE

15   Enterprise have been futile save for the courageous reporting steps taken against
16
     Thomas Girardi by the plaintiffs to the instant lawsuits and the Honorable United
17

18   States District Judge Thomas Durkin, Northern District of Illinois, from another
19
     and unrelated Girardi scheme case, In re Lion Air Flight JT 610 Crash (18 C
20

21
     7686 at *1-2 (N.D. Ill. Nov. 2, 2022),

22   3.    Due to Thomas Girardi’s massive acquisition of illegally derived wealth,
23
     political, and judicial influences, Mr. Girardi was allowed to corruptly operate
24

25   unscathed by state officials which subsequently deprived the opposing litigant(s)
26
     of property, reputations, constitutionally guaranteed due process, and
27

28
     fundamental fairness.
     1. CIVIL RACKETEERING - 2
          Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 3 of 40 Page ID #:3



1    4.    Thomas Girardi engaged in fraudulent activities under the guise of common
2
     torts and or contract disputes.
3

4    5.    There are far more victims to the fraudulent practices of Mr. Girardi,
5
     however many attorneys throughout the state of California are dissuaded from
6

7
     commencing litigation against Girardi, due to his corrupt stronghold and state

8    court judicial influences, to include but not limited to influence of the California
9
     State Bar.
10

11   7.    Thomas Girardi had successfully out-foxed state of California and many of
12
     the nation’s federal judiciaries for over four decades.
13

14
     8.    Thomas Girardi was finally charged by criminal indicted on January 31,

15   2023, in Cause No. 2:23-cv-00047-JFW, by the United States District Court
16
     Central District of California, in relations to the fraudulent scheme type stemming
17

18   from In re Lion Air Flight JT 610 Crash. The plaintiffs to this lawsuit are seeking
19
     civil vindication to yet another Thomas Girardi scheme types.
20
           “A lie doesn't become truth, wrong doesn't become right, and evil
21

22         doesn't become good, just because it's accepted by a majority.”

23
                                                           Booker T. Washington
24

25

26

27

28
     1. CIVIL RACKETEERING - 3
              Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 4 of 40 Page ID #:4



1                                                   JURISDICTION
2
         9.     Jurisdiction in this case is invoked onto the Court pursuant to provisions of
3

4
         18 U.S.C. §1961; 18 U.S.C. §1962; U.S.C. § 1964 1 et,seq of the civil

5        RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
6
         (RICO); and Article III, Section 2, to the Constitution of the United States
7

8        codified under 28 U.S.C. § 1331.
9
         10. Diversity jurisdiction pursuant to 28 U.S.C. § 1332(a) is invoked in that,
10

11
         the amount in controversy exceeds $75,000.

12                                                         VENUE
13
         11. Venue is invoked pursuant to 18 U.S.C. § 1965(a)2 and § 1965(b)3.
14

15

16

17

18

19   1
         18 U.S.C. § 1964(c)
20   Any person injured in his business or property by reason of a violation of section 1962 of this chapter may sue
     therefor in any appropriate United States district court and shall recover threefold the damages he sustains and the
21   cost of the suit, including a reasonable attorney’s fee, except that no person may rely upon any conduct that would
     have been actionable as fraud in the purchase or sale of securities to establish a violation of section 1962. The
22   exception contained in the preceding sentence does not apply to an action against any person that is criminally
     convicted in connection with the fraud, in which case the statute of limitations shall start to run on the date on which
23   the conviction becomes final.
24   2
      18 U.S.C. 1965(a) Any civil action or proceeding under this chapter against any person may be instituted in the
     district court of the United States for any district in which such person resides, is found, has an agent, or transacts
25   his affairs.
26   3
       (b) In any action under section 1964 of this chapter in any district court of the United States in which it is shown
     that the ends of justice require that other parties residing in any other district be brought before the court, the court
27   may cause such parties to be summoned, and process for that purpose may be served in any judicial district of the
     United States by the marshal thereof.
28
     1. CIVIL RACKETEERING - 4
         Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 5 of 40 Page ID #:5



1    12. Venue is also proper within this Court pursuant to 28 U.S.C. § 1391(b)(2)
2
     and § 1391(c)1, in that, plaintiffs ALKIVIADESDAVID; FILMON TV LTD.;
3

4    FILMON TV INC., ALKI DAVID PRODUCTION INC., HOLOGRAM USA,
5
     SWISSX, are business entities which conducts commercial business activities
6

7
     thru DISH NETWORK and across the United States to include the state of

8    California, and the Central District of California. SWISSX conducts franchise
9
     commercial business activities across the United States to include the state of
10

11   California, and the Central District of California.
12
                                    RELATED CASES
13

14
     Cases [directly] related to the instant Girardi/Keese Enterprise Fraud

15   Scheme:
16
     Federal Cases:
17
     13. UNITED STATES DISTRICT COURT FOR THE CENTRAL
18       DISTRICT OF CALIFORNIA
         ALKIVIADES DAVID v. GLORIA ALLRED ET AL
19
         2:22-cv-05926-GW-JPR
20       Judge: George H. Wu
21
         Jean P. Rosenbluth, referral
         Date filed: 08/20/2022
22       Date terminated: 01/03/2023
23

24

25

26

27

28
     1. CIVIL RACKETEERING - 5
         Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 6 of 40 Page ID #:6



1    State Cases:
2    14. SUPERIOR COURT OF THE STATE OF CALIFORNIA FOR THE
          COUNTY OF LOS ANGELES CENTRAL DISTRICT
3
          LAUREN REEVES v. HOLOGRAM USA INC ET AL
4         BC643099
          December 07, 2016
5
          Judge: Terry Green
6         Closed
7
     15. SUPERIOR COURT OF THE STATE OF CALIFORNIA FOR THE
8        COUNTY OF LOS ANGELES CENTRAL DISTRICT
9        MAHIM KHAN v. HOLOGRAM USA INC ET AL
         BC654017
10
         Gloria Allred (Att)
11       Filed March 14, 2017
         Judge: Michelle Williams Court
12
         Closed
13

14
     16. SUPERIOR COURT OF THE STATE OF CALIFORNIA FOR THE
         COUNTY OF LOS ANGELES CENTRAL DISTRICT
15       ELIZABETH TAYLOR / CHASITY JONES v. ALKIVIADES DAVID
16       ET AL
         BC649025
17
         Gloria Allred (Att)
18       Lisa Bloom / Joseph Chora (Att)
         Date Filed: Feb 02, 2017
19
         Judge: Rafael A. Ongkeko
20       Judge: Yolanda Orozco
21
         Closed

22   17. SUPERIOR COURT OF THE STATE OF CALIFORNIA FOR THE
23       COUNTY OF LOS ANGELES CENTRAL DISTRICT
         JANE DOE v. ALKIVIADES DAVID, ET AL.
24
         Marguerita Nichols
25       BC643099 / 20STCV37498
         Sep 30, 2020
26
         Thomas Girardi / Allred (Att.)
27       Judge Christopher K. Lui
28
         Pending
     1. CIVIL RACKETEERING - 6
         Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 7 of 40 Page ID #:7



1

2    Cases [Indirectly] related to the instant Girardi/Keese Enterprise Fraud
3
     Scheme:
4
     18. UNITED STATES DISTRICT COURT FOR THE NORTHERN
5
         DISTRICT OF ILLINOIS, EASTERN DIVISION
6        In re: LION AIR FLIGHT JT 610 CRASH
7        1:18-cv-07686
         Filed 11/19/2018
8
         Judge: Thomas M. Durkin
9        Closed
10
     19. UNITED STATES DISTRICT COURT FOR THE NORTHERN
11       DISTRICT OF ILLINOIS, EASTERN DIVISION
12       EDELSON PC v. GIRARDI
         1:20-cv-7115
13
         November 11/16/2022
14       Judge: Matthew F. Kennelly
15
     20. UNITED STATES DISTRICT COURT FOR THE NORTHERN
16       DISTRICT OF CALIFORNIA AT SAN FRANCISCO
17
         EDELSON PC v. LIRA
         3:22-cv-0397-JSC
18       Filed:7/062022
19       Judge Jacqueline Scott Corley
20

21                               ABOUT THE PLAINTIFFS
22
     21. Plaintiff ALKIVIADES DAVID, known from hereinafter as DAVID, is a
23

24
     wealthy businessman and a natural person, domiciled in the state of California

25   during all times relevant, and a citizen of the United Kingdom.
26

27

28
     1. CIVIL RACKETEERING - 7
         Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 8 of 40 Page ID #:8



1    22. Plaintiff FILMON TV LTD., known from hereinafter as, FILMON LTD, is
2
     a United Kingdom company doing business in the United States to include the
3

4    state of California and internationally.
5
     23. Plaintiff HOLOGRAM USA., known from hereinafter as, HOLOGRAM,
6

7
     is a United Kingdom company doing business in the United States to include the

8    state of California and internationally.
9
     24. Plaintiff FILMON TV INC., known from hereinafter as FILMON INC is a
10

11   Delaware corporation, doing business internationally.
12
     25. Plaintiff ALKI DAVID PRODUCTIONS INC., known from hereinafter as
13

14
     ALKI DAVID PRODICTIONS INC., is a Delaware corporation doing business

15   internationally.
16
     26. Plaintiff SWISSX, known from hereinafter as SWISSX, is a franchised
17

18   company, and based in the state of Texas during all times relevant. SWISSX is a
19
     subsidiary company of FILMON TV INC.
20

21
                                 ABOUT THE DEFENDANTS

22   27. Defendant THOMAS GIRARDI, known from hereinafter as GIRARDI, is
23
     a natural person and a resident of the State of California. Girardi is the sole equity
24

25   partner of the GIRARDI -KEESE Law Firm.
26

27

28
     1. CIVIL RACKETEERING - 8
         Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 9 of 40 Page ID #:9



1    28. Defendant GLORIA ALLRED, known from hereinafter as ALLRED, is a
2
     natural person and a resident of the State of California. Allred is a partner in
3

4    Allred, Maroko & Goldberg.
5
     29. Defendant LISA BLOOM, known from hereinafter as BLOOM, is a natural
6

7
     person and a resident of the State of California. Bloom is a partner in Allred,

8    Maroko & Goldberg. BLOOM is the daughter of ALLRED.
9
      30. Defendant NATHAN GOLDBERG, known from hereinafter as
10

11   GOLDBERG, is a natural person and a resident of the State of California.
12
     Goldberg is a partner in Allred, Maroko & Goldberg.
13

14
     31. Defendant DOLORES Y. LEAL, known from hereinafter as LEAL, is a

15   natural person and a resident of the State of California. Leal is a partner in Allred,
16
     Maroko & Goldberg.
17

18   32. Defendant        RENEE     MOCHKATEL,          known     from    hereinafter   as
19
     MOCHKATEL, is a natural person and a resident of the State of California.
20

21
     MOCHKATEL, is a partner in Allred, Maroko & Goldberg.

22   33. Defendant JOSEPH CHORA is a natural person and a resident of the State
23
     of California. CHORA is a partner in CHORA YOUNG & MANASSERIAN
24

25   LLP.
26
     34. Defendant ALLRED, MAROKO & GOLDBERG, known from hereinafter
27

28
     as AMG, is a California Law Firm by Partnership.
     1. CIVIL RACKETEERING - 9
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 10 of 40 Page ID #:10



1    35. Defendant ELIZABETH TAYLOR, known from hereinafter as TAYLOR,
2
     is a natural person and a resident of the State of California.
3

4    36. Defendant MAHIM KHAN, known from hereinafter as KHAN, is a natural
5
     person and a resident of the State of California.
6

7
     37. Defendant CHASITY CHARNISE JONES, known from hereinafter as

8    JONES, is a natural person and a resident of the State of California and of the
9
     state of Texas.
10

11   38. Defendant LAUREN REEVES, known from hereinafter as REEVES, is a
12
     natural person and a resident of the State of California.
13

14
                                  THE RICO ENTERPRISE

15   39. The racketeering enterprise of GIRARDI-KEESE, are “associates in fact”
16
     and formed as a group of persons informally associated together for a common
17

18   purpose of engaging in a course of conduct as a continuing unit to defraud.
19
     40. During an unknown period but approximately between the dates of
20

21
     December 7, 2016 through the present day and thereafter, said persons [identified

22   and referenced above as defendants] associated together to form an enterprise
23
     within the meaning of Section § 1961(4) which devised a scheme to defraud
24

25   Plaintiffs and other members of the public by way of fraudulently induced civil
26
     litigation awards and judgments through the California state courts.
27

28
     1. CIVIL RACKETEERING - 10
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 11 of 40 Page ID #:11



1    41. The entity known from hereinafter as the GIRARDI-KEESE Enterprise,
2
     acted in concert with the above named defendants and others in furtherance of a
3

4    scheme to victimize by defrauding (by means to include but not limited to wire
5
     fraud) wealthy persons, corporations (both domestic and international),
6

7
     celebrities, and business executives, to include Plaintiffs to the instant case.

8    42. Defendants REEVES, KHAN, and TAYLOR acted as "runners" or
9
     otherwise recruiters.
10

11   43.    Defendants REEVES, KHAN, and TAYLOR further acted as non-attorney
12
     co-participant clients in one or more civil litigation schemes involving the
13

14
     GIRARDI-KEESE Enterprise.

15   44. Defendant JONES engaged in activities of the GIRARDI-KEESE
16
     Enterprise as a non-attorney co-participant clients in one civil litigation schemes
17

18   involving the GIRARDI-KEESE Enterprise.
19
     45. Other persons engaged in the GIRARDI-KEESE Enterprise, and acting in
20

21
     concert with REEVES, KHAN, TAYLOR, and JONES, were ALLRED,

22   GOLDBERG, MOCHKATEL, ALLRED, MAROKO & GOLDBERG (AMG),
23
     CHORA, BLOOM, MARGUERITA NICHOLS known from herein as JANE
24

25   DOE who was represented by GIRARDI, and WILSON.
26
     46. LEAH WILSON known from hereinafter as WILSON served at all times
27

28
     relevant as the Executive Director of THE STATE BAR OF CALIFORNIA.
     1. CIVIL RACKETEERING - 11
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 12 of 40 Page ID #:12



1    47. GAVIN NEWSOM KNOWN FROM HEREINAFTER AS NEWSOM is
2
     the Governor of the State of California who appointed four of the six members to
3

4    the Board of Directors of THE STATE BAR OF CALIFORNIA.
5
     48. NEWSOM is a recipient of funds derived by GIRARDI through a pattern
6

7
     of racketeering activities.

8    49. NEWSOM politically benefited from schemes to defraud by the GIRARDI-
9
     KEESE Enterprise.
10

11   50.    Defendant CHORA is the "enforcer" or otherwise unlawful debt
12
     collections arm for the GIRARDI-KEESE Enterprise.
13

14
     51. COMCAST             INC. (formerly      known        as   American      Cable

15   Systems and Comcast Holdings) and known from hereinafter as COMCAST
16
     INC., is headquartered in Philadelphia, PA.
17

18   52. COMCAST            INC.,   is   the   largest   of   America’s   multinational
19
     telecommunications platforms for broadcasting and cable television.,
20

21
     53. COMCAST VENTURES, LLC., known from hereinafter as COMCAST

22   VENTURES is a venture capital firm headquartered in San Francisco, California
23
     and a subsidiary of COMCAST INC.
24

25   54. Both CONCAST INC., and COMCAST VENTURES, are associated with
26
     the GIRARDI-KEESE Enterprise for the purpose of engaging in a course of
27

28
     racketeering conduct. NBC News, CNBC, and MSNBC are owned by
     1. CIVIL RACKETEERING - 12
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 13 of 40 Page ID #:13



1    COMCAST INC., which also owns UNIVERSAL PICTURES and is a minority
2
     partner to five Chinese state-owned companies.
3

4    55. COMCAST INC., and COMCAST VENTURES, through their control of
5
     major media networks and outlets, engaged in a course of conduct to further
6

7
     conceal or otherwise secret the fraudulent activities of the GIRARDI-KEESE

8    Enterprise.
9
     56. COMCAST INC., and COMCAST VENTURES censored DAVID or
10

11   caused DAVID to be censored on its media platforms for the common purpose
12
     of continuing the long-term operation of the GIRARDI-KEESE Enterprise.
13
                                  TO PREVAIL IN A RICO ACTION
14

15   57. To prevail on a civil RICO claim the plaintiffs must show, among other
16
     elements, a "pattern of racketeering activity." 18 U.S.C. § 1962. " 'Racketeering
17

18
     activity' is any act indictable under several provisions of Title 18 of the United

19   States Code," including extortion and mail and wire fraud. Rothman v. Vedder
20
     Park Management,912 F.2d 315, 316 (9th Cir.1990). All Direct Travel Services,
21

22   Inc. v. Delta Air Lines, Inc., 120 F. App'x 673, 675 (9th Cir. 2005)
23
                     RICO PREDICATES UNDER 18 U.S.C. § 1961
24

25
     58. The first predicated act of racketing for the purpose of this lawsuit is

26   established under the provisions of the federal WIRE FRAUD statute as set out
27
     in 18 U.S.C. § 1343.
28
     1. CIVIL RACKETEERING - 13
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 14 of 40 Page ID #:14



1    59. On December 07, 2016, the GIRARDI-KEESE Enterprise utilized the
2
     “electronic court document filing system” (EFSP) to the Superior Court of Los
3

4    Angeles County, California, to register the case of LAUREN REEVES in the
5
     matter of LAUREN REEVES v. HOLOGRAM USA INC ET AL, Case No.
6

7
     BC643099.

8    60.   The (EFSP) electronic court filing was done as part of a continuing course of
9
     racketeering activities to defraud wealthy persons, corporations (both domestic
10

11   and international), celebrities, and business executives to include Plaintiffs to the
12
     instant case.
13

14
     61. The second predicated act of racketing for the purpose of this lawsuit is

15   established under the provisions of the federal WIRE FRAUD statute as set out
16
     in 18 U.S.C. § 1343.
17

18   62. On February 2, 2017, the GIRARDI-KEESE Enterprise utilized the
19
     “electronic court document filing system” (EFSP) to the Superior Court of Los
20

21
     Angeles County, California, to register the case of ELIZABETH TAYLOR and

22   CHASITY JONES in the matter of ELIZABETH TAYLOR, CHASITY JONES
23
     v. ALKIVIADES DAVID, ET AL, Case No. BC649025.
24

25   63.   The (EFSP) electronic court filing was done as part of a continuing course of
26
     racketeering activities to defraud wealthy persons, corporations (both domestic
27

28
     1. CIVIL RACKETEERING - 14
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 15 of 40 Page ID #:15



1    and international), celebrities, and business executives to include Plaintiffs to the
2
     instant case.
3

4    64. The third predicated act of racketing for the purpose of this lawsuit is
5
     established under the provisions of the federal WIRE FRAUD statute as set out
6

7
     in 18 U.S.C. § 1343.

8    65. On March 14, 2017, the GIRARDI-KEESE Enterprise utilized The (EFSP)
9
     “electronic court document filing system” to the Superior Court of Los Angeles
10

11   County, California, to register the case of MAHIM KHAN in the matter of
12
     MAHIM KHAN v. HOLOGRAM USA INC ET AL, Case No. BC654017.
13

14
     66.   The (EFSP) electronic court filing was done as part of a continuing course of

15   racketeering activities to defraud wealthy persons, corporations (both domestic
16
     and international), celebrities, and business executives to include Plaintiffs to the
17

18   instant case.
19
     67. The fourth predicated act of racketing for the purpose of this lawsuit is
20

21
     established under the provisions of the federal WIRE FRAUD statute as set out

22   in 18 U.S.C. § 1343.
23
     68. On September 30, 2020, the GIRARDI-KEESE Enterprise utilized the
24

25   “electronic court document filing system” (EFSP) to the Superior Court of Los
26
     Angeles County, California, to register the case of JANE DOE aka / Marguerita
27

28
     1. CIVIL RACKETEERING - 15
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 16 of 40 Page ID #:16



1    Nichols, in the matter of JANE DOE v. ALKIVIADES DAVID, ET AL., Case No.
2
     BC643099 / 20STCV37498.
3

4    69.   The (EFSP) electronic court filing was done as part of a continuing course of
5
     racketeering activities to defraud wealthy persons, corporations (both domestic
6

7
     and international), celebrities, and business executives to include Plaintiffs to the

8    instant case.
9
            THE GIRARDI-KEESE ENTERPRISE COMMON PURPOSE
10

11   70. For decades corrupt California based attorneys to include but not limited to:
12
     GARARDI; ALLRED; BLOOM; GOLDBERG; MOCHKATEL; LEAL, and
13

14
     CHORA have developed and operated a racketeering enterprise in what is

15   estimated by federal prosecutors to well exceed $100 million USD, by
16
     sophisticated scheme[s].
17

18   71. The common purpose of the GIRARDI-KEESE Enterprise in the instant
19
     scheme, was to defraud for the purpose of acquiring illicit money from wealthy
20

21
     persons, corporations (both domestic and international), celebrities, and business

22   executives through a pattern of civil litigations facilitated by false or fraudulent
23
     (sexually related) allegations.
24

25   72. In furtherance of the scheme to defraud, the GIRARDI-KEESE Enterprise,
26
     through bribes and or industry favors (to include judicial and political favors or
27

28
     support), acquired lucrative court induced monetary judgments, Judgment Liens,
     1. CIVIL RACKETEERING - 16
         Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 17 of 40 Page ID #:17



1    awards and or concealment favors, inasmuch, that the Enterprise’s course of
2
     conduct functioned as a continuing unit.
3

4    73. The Enterprise’s course of conduct further elicited the aid and assistance of
5
     non-attorney co-participants for the common purpose of the scheme to defraud
6

7
     by corrupted litigation, to include but not limited to: ELIZABETH TAYLOR;

8    MAHIM KHAN; LAUREN REEVES; CHASITY CHARNISE JONES; LISA
9
     BLOOM; JOSEPH CHORA; GAVIN NEWSOM; LEAH WILSON; THE
10

11   STATE BAR OF CALIFORNIA; COMCAST INC.; and COMCAST
12
     VENTURES.
13

14
                     THE RICO COURSE OF CONDUCT TO DEFRAUD

15   74.      The racketeering scheme or otherwise course of conduct as prosecuted in
16
     this lawsuit comprises of both known and unknown participants but was
17

18   formulated and orchestrated by the parties named above as RICO defendants.
19
     75. One of the many schemes but in particular, the instant scheme to defraud4
20

21
     by corrupted litigation involves the GIRARDI–KEESE Law Firm, and its

22

23

24

25

26   4
      A plaintiff must state claims grounded in fraud with particularity. Fed.R.Civ.P. 9(b). “Averments of fraud must
     be accompanied by the ‘who, what, when, where, and how’ of the misconduct charged.” Vess v. Ciba–Geigy Corp.
27   USA, 317 F.3d 1097, 1106 (9th Cir.2003). Rule 9(b) applies to cases brought in federal court irrespective of
     whether the substantive law is state or federal. Id. at 1102.
28
     1. CIVIL RACKETEERING - 17
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 18 of 40 Page ID #:18



1    conspiring and colluding with other California based attorneys, private judges,
2
     active judges, and a select group of non-attorney co-participants clients.
3

4    76. The non-attorney co-participants, while purporting to be legitimate clients
5
     of the GIRARDI-KEESE Law Firm, or attorneys acting in concert therewith,
6

7
     engaged in a course of racketeering activities in furtherance of the scheme to

8    defraud.
9
     77. On or about June 2, 2015 evidence establishes that Defendants ALLRED
10

11   and TAYLOR conspired with one another to encourage others to join with the
12
     Enterprise's common scheme and purpose to defraud. The other parties were
13

14
     KHAN and JONES as evidenced by the text records.

15   78.          TAYLOR: “No one is willing to be a witness now and
16
                  Gloria Allred won’t take my case if not. If the tables
17

18                were turned I would have you girls back in a heartbeat.
19
                  No questions asked. This entire thing just sucks & all
20

21
                  leads back to being scared of Alki. Like we make 2,000 a

22                month, it’s a joke. I already had a final interview today.
23
                  Lol” --- “All I need is Chasity and MK” --- “MK to say
24

25                he touched her boobs (which she told me she would say)”
26
                  (Emp added)
27

28
     1. CIVIL RACKETEERING - 18
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 19 of 40 Page ID #:19



1       THE GIRARDI, ALLRED, REEVES, KHAN, TAYLOR, AND JONES
2
        RICO CONSPIRACY THAT PREDICATED FRAUDULENT STATE
3

4                                 COURT JUDGEMENT LIENS
5

6    79. In 2015 DAVID engage in a consensual relationship with MARY RIZZO
7
     known from hereinafter as RIZZO.
8

9    80. RIZZO worked as an employee at DAVID’s Hologram USA company.
10
     81. At a later time during the acquaintance, RIZZO employed the legal counsel
11
     of ALLRED to bring forth a workplace related lawsuit against DAVID.
12

13   82. The lawsuit was settled under a strict Confidentiality Agreement for an
14
     undisclosed amount.
15

16   83. At a date uncertain but following the date of the Confidential Settlement
17
     Agreement, ALLRED confided in REEVES the settlement amount that DAVID
18
     had made to RIZZO.
19

20    84. REEVES shared the ALLRED information with TAYLOR who
21
     subsequently announced the confidential settlement amount during an employee
22

23   related dinner at Cafe Roma in Beverly Hills, California where JONES, KHAN
24
     and others were present.
25

26

27

28
     1. CIVIL RACKETEERING - 19
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 20 of 40 Page ID #:20



1    85. According to RIZZO, news of the settlement amount inspired a scheme by
2
     REEVES, KHAN, TAYLOR, and JONES to extort DAVID by way of fraud, in
3

4    that each would testify for each other as needed.
5
     86. During this period REEVES, KHAN, TAYLOR, JONES and JANE DOE
6

7
     acted in furtherance of the scheme to engage in copycat conduct for the purpose

8    of acquiring money from DAVID for themselves through fraudulent means.
9
     87. ALLRED encouraged REEVES to recruit TAYLOR, KHAN, and JONES
10

11   as part of the fraudulent litigation scheme.
12
     88. ALLRED then referred of the fraudulent representation of REEVES to her
13

14
     daughter BLOOM.

15   89.    The fraudulent actions of TAYLOR caused DAVID to threaten criminal
16
     charges as reported by the May 7, 2016 telephone text communication between
17

18   RIZZO and JONES.
19
     90. The referred to May 7, 2016 text messages were denied evidentiary
20

21
     admittance during all relevant state court litigations.

22   91.          JONES: “He told me he was filing criminal charges
23
                  against her.”
24

25   92.          RIZZO: “Damn. Poor Elizabeth. MK too?”
26
     93.          JONES: “No.”
27

28
     1. CIVIL RACKETEERING - 20
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 21 of 40 Page ID #:21



1    94.          RIZZO: “You know what’s crazy…I still have text from
2
                  Elizabeth saying all she needs is MK and you to talk.”
3

4    95.          JONE: “She asked me to help her case and kept calling
5
                  me over and over via text but I’m not sure if she told me to file
6

7
                  against him or not bc I wasn’t paying attention to her.”

8    **************
9
     “Yes I’m sure. Elizabeth prob said we all seen it or something. Who know
10

11   96.          RIZZO: “Yea she probably did. I never did tho.”
12
     **************
13

14
     97.          JONES: “I never seen him touch her but she always had

15                something to say about everyone lol
16
     98.          RIZZO: “OMG she did! Lol” – “She liked to gossip”
17

18   99.          JONES: “Yep”
19
     100.         RIZZO: “Even about fake stuff”
20

21
     101.         JONES: “Lol yes”

22   102. The conspiracy between ALLRED, REEVES, KHAN, TAYLOR, JONES,
23
     GIRARDI and DOE did not transact because of sexual related misconduct on the
24

25   part of DAVID, but for reasons that each defendant was disgruntled due to the
26
     dollar amount in salaries and or commissions that each defendant was being paid
27

28
     under DAVID’s employ.
     1. CIVIL RACKETEERING - 21
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 22 of 40 Page ID #:22



1    103. In the May 26, 2015 text conversation between RIZZO and JONES, JONES
2
     on reveals as much:
3

4    104.         JONES: “I hate Filmon!!” – “I’m quitting for sure! They only paid
5
                  me part of my commission and Alki agreed to pay me and Peter
6

7
                  don’t want to pay. Alki said he was going to make sure I get paid

8                 but this is not right I have to fight for my money.”
9
     105.         RIZZO: “I can’t believe that. That company is ridiculous. It’s funny
10

11                how everyone has trouble getting paid there commissions but that
12
                  never was a problem for Jill in the UK. Makes you wonder.”
13

14
            *************** NOVEMBER 16, 2015
15

16   106.         JONES: “I’m going to call the lawyer back. That what Alki
17
                  get!!!!”
18
     107.         RIZZO: “Lol” --- “Yea I knew something was up when MK
19

20                stopped showing up.”
21
     108.         JONES: “I think I’m going to sue him too bc he deserves it by
22

23                the way he treat people and the things he do to people” ---
24
                  “I’m going to call Elizabeth today this afternoon”
25

26
     ****************
27

28
     109.         RIZZO: “It’s not just Elizabeth but MK and now you”
     1. CIVIL RACKETEERING - 22
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 23 of 40 Page ID #:23



1    110.         JONES: “Yes” --- “He’s a looser!!!!”
2

3
            **************** NOVEMBER 17, 2015
4
     111.         JONES: “I’m going to sue Alki for harassment. I’m going to
5

6                 go home and find another attorney today and go over all my
7
                  notes I kept”--- “That whok company is dirty”--- “They are
8

9                 trying to go public and that not fair how he does me and
10
                  people” --- “I’m going to call and retract my statement from
11
                  Barry Rotyman too”
12

13   112. Upon knowledge and belief the defendants made fraudulent allegations in
14
     California state civil court proceedings (usually of a sexual nature) against
15

16   wealthy persons, corporations (both domestic and international), celebrities and
17
     business executives, to include but not limited to Plaintiffs to the instant case.
18
     113. The uses of emails, telephone communications, text messages, and or
19

20   (EFSP) electronic court filings, to include but not limited to electronic court
21
     filings made to The Superior Court of Los Angeles County, California, in Cases:
22

23   BC654017 Kahn v. Hologram USA, BC643099 Reeves v. Hologram USA,
24
     BC649025 Taylor / Jones v. David, BC649025 were an essential part of the
25
     continuing course of conduct to defraud, for the purpose of predicated acts of
26

27   racketeering and unlawful racketeering activities.
28
     1. CIVIL RACKETEERING - 23
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 24 of 40 Page ID #:24



1    114. The GIRARDI-KEESE Law Firm and or attorneys engaged in a course of
2
     racketeering conduct therewith, and in furtherance of the scheme to defraud,
3

4    represented the non-attorney co-participants clients as civil lawsuit litigants in
5
     state court proceedings, where quid pro quo agreements were made between the
6

7
     GIRARDI-KEESE Law Firm, and participating retired and or GIRARDI

8    influenced “private” and active judges to secure the return of civil court rulings
9
     bearing lucrative award of judgments against the fraudulently victimized
10

11   defending party or otherwise wealthy persons, corporations (both domestic and
12
     international), celebrities, and business executives to include Plaintiffs to the
13

14
     instant case.

15   115. In other words, the civil cases were “fixed” by and for GIRARDI in favor
16
     of the non-attorney co-participant clients.
17

18         “I get along great with all the judges, I can do some real good sh*t.
19
           But I want to make sure you know we’d be joined at the hip.”
20

21
                                                        Thomas Girardi

22   116. The GIRARDI-KEESE Law Firm, subsequently collected enrichments
23
     from the fraudulent litigations for the GIRARDI-KEESE Enterprise to payout
24

25   professional debts, and or payments to benefit the non-attorney co-participants
26
     clients who acted in concert, and as members of the enterprise to include but not
27

28
     limited to REEVES, KHAN, TAYLOR, JONES and DOE.
     1. CIVIL RACKETEERING - 24
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 25 of 40 Page ID #:25



1    117. The GIRARDI-KEESE Law Firm further diverted ill-gotten proceeds from
2
     the scheme to personal and political belonging to GIRARDI himself and
3

4    campaign accounts of NEWSOM.
5
     118. Other conspiring and or colluding lawyers and or parties acted in
6

7
     furtherance to obtain money derived from the GIRARDI-KEESE Enterprise in

8    support of the general scheme to defraud.
9

10

11

12

13

14

15

16
     119. “First, he unambiguously finds that Girardi was running a Ponzi
17

18         scheme,” Edelson wrote. “Given that Girardi and his firm got away
19
           with this for decades, it is remarkable that this is the first time we
20

21
           have seen this finding in such a clear and unambiguous way. Second,

22         he leaves little doubt about his views about what others at the firm
23
           knew about the illegal scheme.” (Emp added)
24

25                                                     Jay Edelson
26
          GIRARDI-KEESE USED NON-ATTORNEY CO-PARTICIPANTS
27

28
     1. CIVIL RACKETEERING - 25
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1    120. Defendants REEVES and KHAN are non-attorney co-participant clients of
2
     ALLRED, MAROKO & GOLDBERG, and acted together, with the GIRARDI-
3

4    KEESE Enterprise for a common purpose to defraud and to benefit from proceeds
5
     derived from racketeering activities to include federal wire fraud.
6

7
     121. Defendants TAYLOR and JONES acted in a course of conduct with the

8    GIRARDI-KEESE Enterprise through ALLRED, AND BLOOM to acquire one
9
     or more fraud induced civil lawsuit awards in the aggregate amount of
10

11   approximately $11,000,000.00 against the plaintiffs.
12
     122. Defendant KHAN acted in a course of conduct with the GIRARDI-KEESE
13

14
     Enterprise through ALLRED, MAROKO & GOLDBERG to acquire one or more

15   fraud induced civil lawsuit awards in the aggregate amount of approximately
16
     $58,250,000.00 against the plaintiffs.
17

18   123. Defendant REEVES acted in a course of conduct with the GIRARDI-
19
     KEESE Enterprise through ALLRED, MAROKO & GOLDBERG to acquire one
20

21
     or more fraud induced civil lawsuit awards in the aggregate amount of

22   approximately $4,795,000.00 against the plaintiffs.
23
     124. Defendant REEVES and KHAN acting under the direction and or
24

25   influenced of ALLRED, GOLDBERG, LEAL, MOCHKATEL, AMG, and other
26
     parties within the GIRARDI KEESE Enterprise, and through a course of conduct
27

28
     for the common purpose to defraud, performed as non-attorney co-participant
     1. CIVIL RACKETEERING - 26
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1    clients against DAVID; FILMON LTD.; FILMON INC., and ALKI DAVID
2
     PRODUCTION INC. REEVES and KHAN, at all times relevant was aware that
3

4    their civil court claims against DAVID; FILMON LTD.; FILMON INC., were
5
     false and predicated upon a fraudulent scheme advanced by ALLRED,
6

7
     GOLDBERG, LEAL, MOCHKATEL, and AMG on behalf of the GIRARDI-

8    KEESE Enterprise.
9
     125. Defendant JONES was recruited by TAYLOR under the direction and
10

11   influenced of ALLRED and BLOOM, and other parties within the GIRARDI-
12
     KEESE Enterprise to act under a course of conduct for the common purpose to
13

14
     defraud.

15   126. Both JONES and TAYLOR performed as non-attorney co-participant
16
     clients against DAVID; FILMON LTD.; FILMON INC., and ALKI DAVID
17

18   PRODUCTION INC. TAYLOR and JONES, at all times relevant were aware
19
     that their civil court claims against DAVID; FILMON LTD.; FILMON INC.,
20

21
     were false and predicated upon a fraudulent scheme advanced by BLOOM and

22   ALLRED.
23
     127. CHORA is an attorney and acts as "enforcer" or otherwise as collection
24

25   agent for the GIRADI-KEESE Enterprise.
26
     128. On or about January 7, 2023, CHORA engaged in conduct to collect an
27

28
     unlawful debt against DAVID, and that such debt was generated by a pattern of
     1. CIVIL RACKETEERING - 27
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 28 of 40 Page ID #:28



1    racketeering activity. Federal law under 18 U.S.C. § 1962(a) prohibits the
2
     collection of debt predicated upon unlawful activities. CHORA acts as the
3

4    “Enforcer” for the GIRARDI-KEESE Enterprise.
5
     129. LEAH WILSON acted in a course of conduct with the GIRARDI-KEESE
6

7
     Law Firm to conceal, secret and or cover-up complaints of corruption involving

8    GIRARDI and or the attorneys associated with the GIRARDI-KEESE Enterprise
9
     for the common purpose of continuing the conduct of the Enterprise.
10

11   130. FILMON LTD., is a United Kingdom based company that delivers conservative

12   streaming media broadcast by way of the internet.
13
     131. FILMON LTD., often covers conservative political viewpoints and news matters that
14
     involves corruption in government.
15
     132. COMCAST INC., and COMCAST LLC., are connect to THOMAS GIRARDI through
16

17   professional and or political associations.

18   133. COMCAST INC., and COMCAST LLC., censored FILMON LTD., or caused its
19
     censoring to conceal and or prevent FILMON LTD., from exposing early on the corrupt and
20
     racketeering activities of the GIRARDI-KEESE Enterprise.
21
     134. The censoring of FILMON LTD., by COMCAST INC., and COMCAST LLC., lessened
22

23   competition with their telecommunications brands by injury, destruction, and or preventative

24   competition to FILMON LTD., and its customer base market throughout the United States.
25
                   FACTUAL ALLEGATIONS OF RACKETEERING
26

27

28
     1. CIVIL RACKETEERING - 28
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1    135. Girardi was once a top plaintiffs’ attorney and Democratic powerbroker
2
     who gained reality TV fame on “Real Housewives of Beverly Hills” alongside
3

4    his third wife, Erika.
5
     136. His downfall in December 2020 was in part triggered by a federal judge
6

7
     finding that he had misappropriated millions from families of those killed in an

8    Indonesian plane crash. But after the collapse of his Wilshire Boulevard law firm,
9
     scores of clients came forward saying they were swindled by Girardi and 137.
10

11         The Los Angeles Times documented a trail of misconduct and allegations
12
     going back decades.
13

14
     138. The Chicago based Edelson law firm accused Girardi and other lawyers at

15   his defunct firm of running “the largest criminal racketeering enterprise in the
16
     history of plaintiffs’ law,” pocketing millions from clients, vendors and fellow
17

18   attorneys.
19
     139. On December 07, 2016, REEVES, represented by ALLRED, sued DAVID,
20

21
     Hologram USA, FILMON LTD, and ALKI DAVID PRODUCTIONS, in state

22   court and more specifically Los Angeles Superior Court, Case No. BC643099.
23
     140. The case involved fraudulent civil litigation premised on allegations of
24

25   sexual battery and or sexual harassment purportedly by DAVID.
26
     141. Defendant ALLRED’s partners, GOLDBERG, LEAL, MOCHKATEL and
27

28
     AMG represented REEVES, who worked as a comedy writer for FILMON LTD.
     1. CIVIL RACKETEERING - 29
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1    142. On April 15, 2020, a civil judgment for REEVES was entered against the
2
     corporate defendants' Hologram USA, Inc., ALKI DAVID PRODUCTIONS,
3

4    INC., and FILMON LTD in the amount of $650,000 for compensatory damages.
5
     143. REEVES later agreed to a reduction in her compensatory award in the
6

7
     amount of $445,000.

8    144. REEVES, at all times was aware that her civil lawsuit and the claims made
9
     against the relevant Plaintiffs were predicated upon knowingly false allegations
10

11   and fraud.
12
     145. A punitive damages award in the amount of $4.35 million was entered
13

14
     against DAVID for the aggregate sum of $4,795,000.00.

15   146. The fraud induced award and judgment lien against Hologram USA, Inc.,
16
     ALKI DAVID PRODUCTIONS, INC., and FILMON LTD restrained commerce
17

18   and the plaintiff’s ability to conduct trade and or business in the Unites States.
19
     147. Defendant DAVID on four occasions sought to have THE BAR address his
20

21
     legitimate claims concerning the egregious and unethical conduct of ALLRED

22   and her partners.
23
     148. DAVID sent correspondence to WILSON, who served during all times
24

25   relevant as the Executive Director of THE BAR.
26
     149. THE BAR ignored three prior complaints that DAVID had sent to THE
27

28
     BAR where the Complaints never lead to an investigation into the unethical
     1. CIVIL RACKETEERING - 30
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 31 of 40 Page ID #:31



1    conduct of ALLRED or GIRARDI, and the unlawful conduct was able to
2
     continue.
3

4    150. WILSON, who apparently had not even read the attachments sent to her by
5
     DAVID responded on June 25, 2022, asking “have you considered filing a
6

7
     complaint against Ms. Allred or Ms. Bloom?”

8    151. On April 29, 2020, Attorney Murray B. Greenberg, Esq. wrote to THE BAR
9
     regarding DAVIDs’ submitted complaints.
10

11   152. Attorney Greenberg wrote on behalf of DAVID against attorneys ALLRED,
12
     GOLDBERG, LEAL and MOCHKATEL based on their professional misconduct
13

14
     in a case held before Judge Michelle Williams Court in Los Angeles Superior

15   Court, Central District Case No. BC654017 entitled MAHIM KHAN, Plaintiff v.
16
     HOLOGRAM USA, Inc; ALKI DAVID PRODUCTIONS, INC.; FILMON TV,
17

18   INC.
19
     153. THE BAR while engaging in a course of conduct as a continuing enterprise
20

21
     unit, from at least the year 2015 until present failed to investigate many

22   complaints.
23
     154. The Press has widely reported that THE BAR has failed to effectively
24

25   discipline corrupt attorneys, allowing lawyers to repeatedly violate professional
26
     standards, and harm members of the public, however COMCAST INC., and
27

28
     1. CIVIL RACKETEERING - 31
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1    COMCAST VENTURES, LLC, acted to censor or caused to be censored the
2
     matter involving DAVID as a victim to the identical subject matter.
3

4    155. Upon knowledge and belief COMCAST retaliated against the Plaintiffs in
5
     part, for unfavorable litigation in Filmon Inc v. Doubleverify Inc, Supreme Court
6

7
     State of California, No. 244156 (May 6, 2019).

8    156. Recently, it has been revealed by the Press that GIRARDI was involved
9
     with securing Judges to rule for a particular party in many cases. GIRARDI was
10

11   the “Fixer” of cases for a certain network of attorneys as reported by another
12
     attorney.
13

14
     157. On information and belief ALLRED is but one of the attorneys for whom

15   GIRARDI fixed several cases including Los Angeles Superior Court cases No.
16
     BC654017 Kahn v. Hologram USA, BC643099 Reeves v. Hologram USA,
17

18   BC649025 Jones v. David, BC649025 Taylor v. David,, involving the parties of
19
     DAVID, Hologram USA, FILMON LTD, and ALKI DAVID PRODUCTIONS.
20

21
     158. The corruption recently discovered as portrayed in numerous domestic and

22   international news platforms, layout in detail the vast schemes in which the
23
     GIRARDI-KEESE Enterprise is involved with on a global level.
24

25   159. The matter is still being investigated on a regular basis. The amount of
26
     corruption and scheme types by the GIRARDI-KEESE Enterprise are exposed
27

28
     1. CIVIL RACKETEERING - 32
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1    on a regular basis as investigations yield substantial evidence in support of this
2
     matter is ever growing.
3

4    160. Defendant DAVID and his attorney at the time of being sued by REEVES
5
     complained to the court, and to THE BAR about the unethical and criminal
6

7
     behavior of ALLRED and her partners.

8    161. Defendants ALLRED, GOLDBERG and their law firm partners in the
9
     REEVES litigation, and in inter-related cases, including Mahim Khan v.
10

11   Hologram USA, Inc., Alki David Productions, Inc., FilmOn TV, Inc., Alkiviades
12
     David, Case No. BC 654017, (KHAN) switched exhibit and witness lists in those
13

14
     trials, and forged the signature of Ellyn Garofolo, who at that time was counsel

15   for DAVID, ALKI DAVID PRODUCTIONS, INC, and FILMON INC.
16
     162. KHAN was a highly contentious lawsuit which involved the Enterprises’
17

18   status quo allegations of battery and sexual harassment against wealthy persons,
19
     corporations (both domestic and international), celebrities, and business
20

21
     executives to include DAVID, ALKI DAVID PRODUCTIONS, INC, and

22   FILMON INC.
23
     163. The most egregious ethical breach involved the manipulation of a joint
24

25   exhibit list by KAHN’s attorneys which caused a materially altered list to be filed
26
     with the court.
27

28
     1. CIVIL RACKETEERING - 33
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1    164. As if this action was not serious enough, KAHN’s attorneys also removed
2
     the signature page of the DAVID’s attorney’s (Ellyn S. Garofalo) and
3

4    subsequently affixed it to a previously agreed upon version.
5
     165. KAHN’s attorneys then attached the forged signature to the fraudulent
6

7
     version after discovery that attorney Garofalo was unavailable.

8    166. GOLDBERG then signed the exhibit list and filed it with the court.
9
     167. The act was done without the knowledge, permission or authorization of
10

11   Ms. Garofalo or anyone else in her office.
12
     168. GOLDBERG performed this particular act for the common purpose of the
13

14
     Enterprise to acquire money through racketeering activities.

15   169. Defendants LEAL and MOCHKATEL were two other attorneys listed on
16
     the pleading as well as ALLRED who is a partner of the law firm.
17

18   170. In addition to the above-referenced misconduct, the attorneys for KHAN
19
     sought to exclude documents that were previously produced to her attorneys by
20

21
     indicating falsely to the court that they were not disclosed or produced in

22   discovery.
23
                                  FIRST CLAIM FOR RELIEF
24

25   171. (Racketeering Influenced and Corrupt Organization 18 U.S.C. § 1961,
26
     1964(c))
27

28
     1. CIVIL RACKETEERING - 34
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1    THOMAS GIRARDI; GLORIA ALLRED; NATHAN GOLDBERG;
2
     RENEE MOCHKATEL; DOLORES Y. LEAL; LISA BLOOM; JOSEPH
3

4    CHORA; LEAH WILSON; GAVIN NEWSOM; ALLRED, MAROKO &
5
     GOLDBERG; THE STATE BAR OF CALIFORNIA; LAUREN REEVES;
6

7
     ELIZABETH TAYLOR; MAHIM KHAN; CHASITY CHARNISE JONES;

8    LAUREN REEVES; COMCAST INC.; COMCAST VENTURES, LLC.
9
     172. Plaintiff incorporates by reference and re-alleges pages 1 through 34 set
10

11   forth above and Case No. BC643099 Los Angeles Superior Court – No.
12
     BC654017 Kahn v. Hologram USA, BC643099 Reeves v. Hologram USA,
13

14
     BC649025 Jones v. David, BC649025 Taylor v. David.

15   173. Plaintiff claims that Defendants’ conduct under the common purpose to
16
     defraud, and the conduct of each Defendant named above, constitutes
17

18   racketeering as set forth in 18 U.S.C. § 1964(c).
19
     174. Specifically, Congress has defined “racketeering” to include wire fraud or
20

21
     committing fraud by means of electronic transmissions over wire.

22   175. The Defendants engaged in multiple instances of wire fraud, including
23
     fraudulent electronic state court filings by wire.
24

25   176. The federal wire fraud statute pursuant to 18 U.S.C. § 1343 makes it
26
     unlawful to devise any scheme or artifice to defraud, or for obtaining money or
27

28
     property by means of false or fraudulent pretenses, representations, or promises,
     1. CIVIL RACKETEERING - 35
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 36 of 40 Page ID #:36



1    and transmits or causes to be transmitted by means of wire, radio, or television
2
     communication in interstate or foreign commerce, any writings, signs, signals,
3

4    pictures, or sounds for the purpose of executing such scheme.
5
     177. Defendants engaged in wire fraud by the use of telephone communications
6

7
     and or electronic state court filings of litigation papers, each paper filed

8    constituting a separate and distinct violation of the wire fraud statute. 178. In
9
     summary, Section 1962(c) provides relief against parties who engage in a pattern
10

11   of racketeering activity, Section 1962(a) provides relief against parties who use
12
     income generated through a pattern of racketeering activity, and Section 1962(d)
13

14
     provides relief against those who conspire to violate the racketeering laws.

15   179. Defendants are liable under each of these three sections of the statute.
16
     Further, 18 U.S.C. § 1964(c) allows “any person injured in his business or
17

18   property by reason of a violation of section 1962 of this chapter” to “sue therefore
19
     in any appropriate United States district court and shall recover threefold the
20

21
     damages he sustains and the cost of the suit, including a reasonable attorney’s fee

22   ….”
23
                                  SECOND CLAIM FOR RELIEF
24

25   180. (Civil Conspiracy to Commit Fraud – Texas - (§ 15.02. Criminal
26
     Conspiracy))
27

28
     1. CIVIL RACKETEERING - 36
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 37 of 40 Page ID #:37



1    THOMAS GIRARDI; GLORIA ALLRED; NATHAN GOLDBERG;
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     RENEE MOCHKATEL; DOLORES Y. LEAL; LISA BLOOM; JOSEPH
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4    CHORA; LEAH WILSON; GAVIN NEWSOM; ALLRED, MAROKO &
5
     GOLDBERG; THE STATE BAR OF CALIFORNIA; LAUREN REEVES;
6

7
     ELIZABETH TAYLOR; MAHIM KHAN; CHASITY CHARNISE JONES;

8    LAUREN REEVES; COMCAST INC.; COMCAST VENTURES, LLC;.
9
     181. Plaintiff incorporates by reference and re-alleges pages 1 through 34 set
10

11   forth above.
12
     182. At all times relevant, the Defendants agreed to and did conspire to willfully
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14
     and maliciously injure Plaintiffs in its property, reputation, trade, business or

15   profession through the fraud committed by the GIRARDI-KEESE Enterprise as
16
     described below.
17

18   183. Defendants, through the GIRARDI-KEESE Enterprise, have knowingly,
19
     willfully and intentionally conspired and agreed to conduct and participate in the
20

21
     conduct and the affairs of the GIRARDI-KEESE Enterprise as alleged in the

22   preceding sections.
23
     184. Defendants, and each of them, conspired to commit the frauds alleged
24

25   within this Complaint, in that all Defendants conspired to accomplish the
26
     fraudulent litigation scheme.
27

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     1. CIVIL RACKETEERING - 37
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 38 of 40 Page ID #:38



1    185. Defendants had a meeting of the minds to accomplish that goal through one
2
     or more unlawful acts of fraud as alleged herein, and Plaintiffs suffered harm as
3

4    a result of Defendants’ conduct and conspiracy.
5
     186. As a direct and proximate consequence of the Defendants’ conspiracy,
6

7
     Plaintiffs has been injured in its business and property, causing Plaintiffs to suffer

8    monetary damages in an amount not less than $85,045,000.00 said damages to
9
     be proven at the time of trial.
10

11   187. Because Defendants violation the terms of 18 U.S.C. § 1964(c), Defendants
12
     are liable to Plaintiff for three times the damages Plaintiff has sustained, plus the
13

14
     cost of this suit, including reasonable attorneys’ fees and any injunctive relief the

15   court deems reasonable.
16
     188. Defendants’ conduct as alleged in pages 1 through 34 and incorporated
17

18   herein was done in furtherance of their informal association together for a
19
     common purpose of engaging in a course of conduct as a continuing unit.
20

21
     189. Accordingly, the Plaintiffs is entitled to an award of punitive damages

22   from Defendants and each of them in an amount to be proven at trial and
23
     sufficient to punish, penalize and deter Defendants from engaging in such
24

25   conduct in the future.
26

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     1. CIVIL RACKETEERING - 38
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1    JURY DEMAND, Pursuant to Fed. R. Civ. P. 38(b), Plaintiffs hereby demands
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     a trial by jury on all issues so triable that are raised herein or which hereinafter
3

4    may be raised in this action.
5

6    PRAYER FOR RELIEF WHEREFORE, Plaintiffs prays for judgment against
7
     Defendants as follows:
8

9
     1. Finding that all defendants are jointly and severally liable for all damage
10

11
     caused to Plaintiffs;
12   2. Awarding Plaintiff monetary damages in an amount not less than
13
     $85,045,000.00 said amount to be proven at trial;
14

15   3. Awarding Plaintiffs enhanced (treble) monetary damages pursuant to 18
16
     U.S.C. § 1964(c);
17

18
     4. Awarding Plaintiff its litigation expenses, including reasonable attorneys’ fees,

19   costs, and disbursements;
20
     5. Awarding Plaintiffs punitive damages in the sum of not less than
21

22   $100,000,000.00 or an amount otherwise to be decided by a jury; and
23
     6. Granting such other relief as the case may require or as may be deemed proper
24

25
     and equitable.

26                                           Respectfully Submitted,
27
                                            Law Office of Ronda Baldwin-Kennedy
28
     1. CIVIL RACKETEERING - 39
        Case 2:23-cv-01731 Document 1 Filed 03/07/23 Page 40 of 40 Page ID #:40



1    Date: March 8, 2023                /s/ Ronda Baldwin-Kennedy
2                                       Ronda Baldwin-Kennedy
3
                                        Attorney for Plaintiffs
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     1. CIVIL RACKETEERING - 40
